           Case 2:14-cr-00197-RAJ        Document 361        Filed 05/10/16      Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR14-197-RAJ
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   ARISTEO RODRIGUEZ-RAMIREZ,           )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances; Possession with Intent

15 to Distribute Controlled Substances

16 Date of Detention Hearing:     May 10, 2016.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably

20 assure the appearance of defendant as required and the safety of other persons and the

21 community.

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     DETENTION ORDER
     PAGE -1
             Case 2:14-cr-00197-RAJ          Document 361       Filed 05/10/16      Page 2 of 3




01            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02            1.      Defendant has been charged with a drug offense, the maximum penalty of which

03 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

04 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05            2.      Defendant was not interviewed by Pretrial Services, so much of his background

06 information is not known. He does not contest entry of an order of detention.

07            3.      Taken as a whole, the record does not effectively rebut the presumption that no

08 condition or combination of conditions will reasonably assure the appearance of the defendant

09 as required and the safety of the community.

10 It is therefore ORDERED:

11         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

12            General for confinement in a correction facility separate, to the extent practicable, from

13            persons awaiting or serving sentences or being held in custody pending appeal;

14         2. Defendant shall be afforded reasonable opportunity for private consultation with

15            counsel;

16         3. On order of the United States or on request of an attorney for the Government, the

17            person in charge of the corrections facility in which defendant is confined shall deliver

18            the defendant to a United States Marshal for the purpose of an appearance in connection

19            with a court proceeding; and

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     DETENTION ORDER
     PAGE -2
         Case 2:14-cr-00197-RAJ         Document 361        Filed 05/10/16      Page 3 of 3




01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 10th day of May, 2016.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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     DETENTION ORDER
     PAGE -3
